(Rev. 12/1/2018)
                       Case 4:21-cv-00471-JM Document 44 Filed 09/07/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Eastern District of Arkansas



DAREL ADELSBERGER and
ANNETTE ADELSBERGER

                             Plaintiff
                                v.                             )      Case No. 4:21CV00471-JM
                                                               )
UNION PACIFIC RAILROAD COMPANY                                 )
                                                               )
                                                               )

                            Defendant

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
          Darel Adelsberger and Annette Adelsberger


                                                                                                                          .


Date: September 7, 2022
                                                                      Amanda D. Kennedy AR2019136
                                                                                 Attorney's printed name and bar number




                                                                      300 S. Spring St. Ste. 800 Little Rock, AR 72201
                                                                                               Address


                                                                      amanda@lcarklaw.com
                                                                                           E-mail address


                                                                      501-370-9300
                                                                                          Telephone number


                                                                      501-370-9306
                                                                                             FAX number
